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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     Miami Division
                                   www.flsb.uscourts.gov

In re:                                                    Case No. 10-28135-BKC-AJC

JEANNETTE BRANAM,                                         Chapter 7

      Debtor.
____________________________________/

DREW M. DILLWORTH, Chapter 7 Trustee,                     Adv. Case No.

          Plaintiff,
vs.

JEANNETTE BRANAM, JEFFREY BRANAM,
CITIZENS PROPERTY INSURANCE
CORPORATION and STAR ISLAND
FINANCIAL, LLC,

      Defendants.
____________________________________/

   COMPLAINT FOR TURNOVER OF PROPERTY OF THE BANKRUPTCY ESTATE,
 AVOIDANCE AND RECOVERY OF UNAUTHORIZED POST-PETITION TRANSFER(S),
        DETERMINATION OF THE VALIDITY, PRIORITY AND EXTENT OF
            INTEREST(S) IN PROPERTY AND INJUNCTIVE RELIEF

          Drew M. Dillworth, the duly appointed Chapter 7 Trustee of the above-captioned

bankruptcy case (the “Trustee”), by undersigned counsel, brings this Complaint for Turnover

of Property of the Bankruptcy Estate, Avoidance and Recovery of Unauthorized Post-

Petition Transfer(s), Determination of the Validity, Priority and Extent of Interest(s) in

Property and Injunctive Relief against Jeannette Branam (the “Debtor”), Jeffrey Branam,

Citizens Property Insurance Corporation and Star Island Financial, LLC (the “Defendants”),

and in support thereof, alleges as follows:

                                   Jurisdiction, Venue and Parties

         1.       This case was commenced by the filing of a voluntary Chapter 7 petition on

June 28, 2010 (the “Petition Date”).

         2.       This is an action for turnover of property of the bankruptcy estate, pursuant to

11 U.S.C. § 542, for the avoidance and recovery of unauthorized post-petition transfer(s),

                                       ________________________
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pursuant to 11 U.S.C. §§ 549 and 550, for the determination of the validity, priority and

extent of interest(s) in property, pursuant to Fed. R. Bankr. P. 7001(2) and for injunctive

relief.

          3.     This is a core proceeding and this Court has jurisdiction over this action

pursuant to 28 U.S.C. §§ 157 and 1334 and Fed. R. Bankr. P. 7001.

          4.     Venue is proper herein pursuant to 28 U.S.C. §§ 1408 and 1409.

          5.     Drew M. Dillworth is the duly appointed and acting Chapter 7 trustee for the

bankruptcy estate.

          6.     Jeannette Branam is the above-referenced Debtor of this bankruptcy

proceeding.

          7.     Jeffrey Branam is an individual currently residing in the state of Florida, is

otherwise sui juris and, upon information and belief, is currently in possession of property

that can be recovered pursuant to 11 U.S.C. §§ 549 and 550. Jeffrey Branam is the son of

the Debtor, and is therefore an “insider”, as that term is defined in 11 U.S.C. § 101.

          8.     Citizens Property Insurance Corporation (“Citizens”) is sui juris and is either in

possession of property of the estate, or may have a claim to property of the estate.

          9.     Star Island Financial, LLC (“Star Island”) is sui juris and may have a claim to

property of the estate.

                                           General Allegations

          10.    The Debtor owns the real property located at 42 Star Island Dr, Miami Beach,

FL 33139 (the “Property”).              The Debtor scheduled the value of the Property at

$5,471,000.00 and scheduled liens against the Property totaling $12,492,802.00 1.

          11.    Prior to the Petition Date, the Debtor insured the Property through an


          1
          On August 30, 2010, JPMorgan Chase Bank, National Association (“Chase Bank”) filed a Motion for
Relief from the Automatic Stay [ECF No. 30] (the “Motion for Relief”), so that it could proceed with a foreclosure
action against the Property. In the Motion for Relief, Chase Bank alleged that it was owed $11,038,203.68 as
of the Petition Date. On September 14, 2010, the Motion for Relief was granted [ECF No. 33], and Chase Bank
was afforded relief from the automatic stay to pursue its in rem remedies against the Property.
                                       ________________________
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insurance policy with Citizens, bearing Policy No. 5780826 (the “Insurance Policy”). Under

the Insurance Policy, Citizens insured the Debtor against certain losses to the Property.

       12.     Prior to the Petition Date, on or around October 24, 2005, the Debtor

sustained a loss to the Property as a result of damage from Hurricane Wilma, which, upon

information and belief, caused damage to the roof, building, appurtenant structures and

contents inside the Property. The Debtor therefore had an insurance claim to cover this

damage, which was assigned Claim No. 276650 by Citizens (the “Insurance Claim”).

       13.     The Insurance Claim was unequivocally property of the Debtor as of the

Petition Date, and is therefore property of the bankruptcy estate pursuant to 11 U.S.C. §

541.

       14.     The Debtor had an affirmative duty to disclose the Insurance Claim on her

bankruptcy Schedules and Statement of Financial Affairs, but failed to do so. Therefore, the

Insurance Claim was not claimed as exempt by the Debtor, as it was not disclosed

whatsoever in the Debtor’s schedules.

       15.     Instead of disclosing the existence of the Insurance Claim in her bankruptcy

Schedules and Statement of Financial Affairs, or to the Trustee, the Debtor chose to instead

secretly prosecute the Insurance Claim for her own benefit and/or the benefit of her son,

Jeffrey Branam.

       16.     On or around April 9, 2010 (less than 3 months prior to the Petition Date), the

Debtor and Citizens agreed to submit to an appraisal process to determine the proper

amount/value of the Insurance Claim.

       17.     On October 22, 2010, the Debtor commenced an action against Citizens, for

damages under the Insurance Policy relating to the Insurance Claim, in the Circuit Court of

the Eleventh Judicial Circuit in and for Miami-Dade County, Florida, Case No. 10-56927-

CA-11 (the “State Court Lawsuit”).          A true and correct copy of the Complaint (without

exhibits) in the State Court Lawsuit is attached hereto as Exhibit “A”.
                                    ________________________
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      18.      The State Court Lawsuit was commenced without the knowledge or authority

of the Trustee, even though the Debtor’s bankruptcy case was already pending and the

Insurance Claim was property of the bankruptcy estate.

      19.      On or around November 19, 2010, the appraisal process was completed and

an Appraisal Panel entered an Appraisal Award for the Insurance Claim in the amount of

$377,831.08.      However, Citizens claimed that this amount should be reduced by

$195,073.73, based upon its April 9, 2010 Memorandum of Appraisal.

      20.      On January 19, 2011, Citizens issued two (2) payments to the Debtor on

account of the Insurance Claim, in the amounts of $1,423.98 and $100.600.18, respectively,

totaling $102,024.16 (the “Initial Insurance Proceeds”), after application of the policy

deductible amount of $82,550.00. True and correct copies of the Initial Insurance Proceeds

are attached hereto as Exhibit “B”.

      21.      Upon information and belief, the Debtor transferred the Initial Insurance

Proceeds, either in whole or in part, to her son, Jeffrey Branam, for his own use and benefit

(the “Post-Petition Transfers”).

      22.      The Post-Petition Transfers occurred after the commencement of this

bankruptcy case and were not authorized by the Trustee, the Court or the Bankruptcy Code.

      23.      Thereafter, on September 15, 2011, the Debtor filed a First Amended

Complaint in the State Court Lawsuit, detailing certain events that took place with regard to

the Insurance Claim, as referenced above. A true and correct copy of the First Amended

Complaint, with exhibits, is attached hereto as Exhibit “C”.

      24.      During the pendency of this bankruptcy proceeding, after Chase Bank

obtained relief from the automatic stay, as referenced above, to proceed with its in rem

rights against the Property, it assigned its interest(s) in the underlying note, mortgage and

loan documents to Star Island.

      25.      On March 27, 2012, Star Island obtained a Final Summary Judgment of
                                    ________________________
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Foreclosure (the “Final Judgment”) in its favor against the Debtor, in the Circuit Court of the

Eleventh Judicial Circuit in and for Miami-Dade County, Florida, Case No. 10-01614-CA-09.

Pursuant to the Final Judgment, the Miami-Dade Circuit Court determined that Star Island

held a valid mortgage against the Property with rights superior to other lien holders. A true

and correct copy of the Final Judgment is attached hereto as Exhibit “D”.

      26.         Upon information and belief, on or around April 23, 2012, Citizens agreed to

disburse an additional $199,000.00 on account of the Insurance Claim (the “Remaining

Insurance Proceeds”).

      27.         Upon information and belief, Star Island is claiming an interest in the

Insurance Claim (and therefore, the Initial Insurance Proceeds and the Remaining

Insurance Proceeds), by virtue of the terms of the underlying mortgage with the Debtor.

      28.         On or around June 6, 2012, the Trustee first became aware of the existence

of the Insurance Claim.

      29.         On or around June 7, 2012, Star Island filed an Emergency Motion to

Intervene in the State Court Lawsuit, in order to protect its interest in the Insurance Claim.

A true and correct copy of Star Island’s Emergency Motion to Intervene is attached hereto

as Exhibit “E”.

      30.         On or around June 11, 2012, the Trustee filed an Emergency Motion to

Intervene in the State Court Lawsuit, in order to protect the Trustee’s interest in the

Insurance Claim. A true and correct copy of the Trustee’s Emergency Motion to Intervene

is attached hereto as Exhibit “F”.

      31.         On July 26, 2012, the Miami-Dade Circuit Court entered an order authorizing

the Trustee’s and Star Island’s intervention in the State Court Lawsuit, a copy of which is

attached hereto as Exhibit “G”.




                                    ________________________
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          Count 1 – Turnover of the Initial Insurance Proceeds (11 U.S.C. § 542)
                               (Against Jeffrey Branam)

      32.      The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

      33.      Upon information and belief, Jeffrey Branam is in possession, control and

custody of the Initial Insurance Proceeds, which is property of the bankruptcy estate, and

which the Trustee may use, sell or lease under 11 U.S.C. § 363, in the amount of at least

$102,024.16.

         WHEREFORE, the Trustee demands judgment pursuant to 11 U.S.C. § 542(a)

against Jeffrey Branam declaring that he shall deliver to the Trustee, for the benefit of the

above-captioned bankruptcy estate, any and all property of the bankruptcy estate in his

possession, custody or control that the Trustee is entitled to use, sell or lease pursuant to

11 U.S.C. § 363, totaling at least $102,024.16, and for such other relief this Court deems

just and equitable.

    Count 2 – Avoidance and Recovery of Unauthorized Post-Petition Transfer(s)
                (11 U.S.C. §§ 549 and 550) (Against Jeffrey Branam)

      34.      The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

      35.      The Post-Petition Transfers referenced above, in the aggregate amount of at

least $102,024.16, occurred after the commencement of this bankruptcy case and were not

authorized by the Trustee, the Court or the Bankruptcy Code.

      36.      This action is being brought within two (2) years after the date(s) of the Post-

Petition Transfers, which took place on or after January 19, 2011.

      37.      The Post-Petition Transfers are therefore avoidable by the Trustee pursuant

to 11 U.S.C. § 549.

      38.      The Trustee may recover the amount of the Post-Petition Transfers, that

being at least $102,024.16, from Jeffrey Branam, who was either the initial transferee (or
                                    ________________________
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the person for whose benefit such transfer(s) were made) or an immediate or mediate

transferee.

      WHEREFORE, the Trustee respectfully requests that the Court enter a judgment in

favor of the Trustee and against Jeffrey Branam, for: (1) the avoidance of the Post-Petition

Transfers and any other unauthorized post-petition transfers made after the Petition Date;

(2) the recovery of at least $102,024.16 from Jeffrey Branam, as well as any other

unauthorized post-petition transfers made after the Petition Date; (3) the award of court

costs and interest; and (4) such other and further relief as the Court deems just and proper.

      Count 3 – Turnover of the Remaining Insurance Proceeds (11 U.S.C. § 542)
      (Against Jeannette Branam and Citizens Property Insurance Corporation)

      39.      The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

      40.      Citizens is in possession of the Remaining Insurance Proceeds in the amount

of $199,000.00.

      41.      Accordingly, Citizens owes a debt that is property of the bankruptcy estate

and that is mature, payable on demand or on order.

      42.      Alternatively, Citizens is in possession, control and custody of the Remaining

Insurance Proceeds, which is property of the bankruptcy estate, and which the Trustee may

use, sell or lease under 11 U.S.C. § 363, in the amount of at least $199,000.00.

      43.      Star Island may claim an interest in the Remaining Insurance Proceeds, and

to the extent that the Trustee and Star Island are unable to resolve the priority of their

respective interest(s) in the Remaining Insurance Proceeds, the Trustee requests Court

determination of same.

      44.      Jeannette Branam may claim an interest in the Remaining Insurance

Proceeds. However, any such interest is inferior to the Trustee’s interest, as the Remaining

Insurance Proceeds are property of the bankruptcy estate.

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         WHEREFORE, the Trustee respectfully requests judgment pursuant to 11 U.S.C. §

542(a) against Citizens and/or Jeannette Branam declaring that Citizens and/or Jeannette

Branam (whichever defendant is in possession of the Remaining Insurance Proceeds at the

time of judgment) shall deliver to the Trustee, for the benefit of the above-captioned

bankruptcy estate, any and all property of the bankruptcy estate in their possession,

custody or control that the Trustee is entitled to use, sell or lease pursuant to 11 U.S.C. §

363, totaling at least $199,000.00, and for such other relief this Court deems just and

equitable.

Count 4 – Determination of the Validity, Priority and Extent of Interest(s) in the Initial
  Insurance Proceeds and the Remaining Insurance Proceeds (Against Jeannette
 Branam, Citizens Property Insurance Corporation and Star Island Financial, LLC)

      45.      The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

      46.      Citizens may claim an interest in the Remaining Insurance Proceeds, and to

the extent that the Trustee and Citizens are unable to resolve the priority of their respective

interest(s) in the Remaining Insurance Proceeds, the Trustee requests Court determination

of same.

      47.      Star Island may claim an interest in the Initial Insurance Proceeds and the

Remaining Insurance Proceeds, and to the extent that the Trustee and Star Island are

unable to resolve the priority of their respective interest(s) in the Initial Insurance Proceeds

and Remaining Insurance Proceeds, the Trustee requests Court determination of same.

      48.      Jeannette Branam may claim an interest in the Remaining Insurance

Proceeds. However, any such interest is inferior to the Trustee’s interest, as the Remaining

Insurance Proceeds are property of the bankruptcy estate.

         WHEREFORE, the Trustee requests that the Court enter a judgment determining the

validity, priority and extent of the aforementioned interest(s) in the Initial Insurance


                                    ________________________
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Proceeds and Remaining Insurance Proceeds, and for such other relief this Court deems

just and equitable.

     Count 5 – Injunctive Relief (Against Jeannette Branam and Jeffrey Branam)

      49.      The Trustee realleges all of the allegations set forth in each of the paragraphs

above.

      50.      The Trustee has a superior claim to the Remaining Insurance Proceeds over

any possible claim alleged by Jeannette Branam and/or Jeffrey Branam.

      51.      The bankruptcy estate will suffer further irreparable harm if Jeannette Branam

and/or Jeffrey Branam are awarded any funds in the State Court Lawsuit, including without

limitation, the Remaining Insurance Proceeds, totaling at least $199,000.00, during the

pendency of this action.

      52.      The Trustee is therefore entitled to injunctive relief, in the form of an Order or

judgment enjoining Jeannette Branam and/or Jeffrey Branam from receiving any funds in

the State Court Lawsuit, including without limitation, the Remaining Insurance Proceeds.

      53.      The Trustee further requests that the Court enter an injunction, directing the

Miami-Dade Circuit Court to cease from awarding and/or disbursing any funds in the State

Court Lawsuit to Jeannette Branam and/or Jeffrey Branam, or any of their attorneys, agents

or any other persons acting on their behalf.

      WHEREFORE, the Trustee respectfully requests that the Court enter a judgment

enjoining Jeannette Branam and/or Jeffrey Branam from receiving any funds in the State

Court Lawsuit, including without limitation, the Remaining Insurance Proceeds, and/or from

transferring any of the Remaining Insurance Proceeds and directing the Miami-Dade Circuit

Court to cease from awarding and/or disbursing any funds in the State Court Lawsuit to

Jeannette Branam and/or Jeffrey Branam, or any of their attorneys, agents or any other

persons acting on their behalf, and for such other and further relief as the Court deems just

and proper.
                                    ________________________
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    Dated: August 8, 2012.                           LEIDERMAN SHELOMITH, P.A.
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                                                     Ft. Lauderdale, Florida 33312
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                                                     Facsimile: (954) 920-5371

                                                     By:_________/s/______________
                                                           ZACH B. SHELOMITH
                                                           Florida Bar No. 0122548
                                                           zshelomith@lslawfirm.net




                                 ________________________
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